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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA
_____________________________________
                                        )
GULF RESTORATION NETWORK,               )
et al.,                                 )
                                        )
        Plaintiffs,                     )
                                        ) Civil Action No. 2:12-cv-00677-JCZ-DEK
        v.                              )
                                        ) Section “A,” Division 3
GINA MCCARTHY, Administrator of         ) Hon. Jay C. Zainey, District Judge
the United States Environmental         ) Hon. Daniel E. Knowles, III, Magistrate Judge
Protection Agency, and the UNITED       )
STATES ENVIRONMENTAL                    )
PROTECTION AGENCY,                      )
                                        )
        Defendants.                     )
_____________________________________)

        DEFENDANT EPA’S COMBINED MEMORANDUM IN SUPPORT OF ITS
        CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT [REC. DOC. 198]



                            EPA EXHIBIT 4
               EPA’s March 2011 Framework Memo
                         (AR 680–685)
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                                     UNITED STATES ENVIRONMENTAL                                                         PROTECTION AGENCY
                                                                          WASHINGTON                          D.C 20460




                                                                                      MAR            162011                                                                     OFFICE        OF
                                                                                                                                                                                     WATER




MEMORANDUM

SUBJECT                   Working                in    Partnership              with          States to            Address Phosphorus and Nitrogen
                          Pollution              through            Use of                 Framework                 for    State Nutrient               Reductions


FROM                      Nancy                   Stoner

                          Acting Assistant Administrator


TO                        Regional Administrators Regions 1-10


             This    memorandum                        reaffirms           EPA                commitment                   to    partnering           with    states     and

collaborating            with    stakeholders                    to     make         greater progress                      in    accelerating            the reduction              of nitrogen

and phosphorus loadings                           to     our nations                 waters             The memorandum                          synthesizes           key principles
that   are    guiding          and    that       have guided Agency technical                                            assistance           and collaboration              with       states

and urges the Regions                       to    place         new emphasis on working                                     with       states    to     achieve       near-term

reductions          in   nutrient       loadings


             Over        the last 50 years as you                            know              the amount                of nitrogen and phosphorus pollution

entering our waters                   has    escalated                  dramatically                  The         degradation             of drinking           and environmental

water    quality associated                      with       excess         levels            of nitrogen                and phosphorus                  in   our nations            water     has

been studied             and documented                         extensively                 including              in      recent joint report by                      Task Group              of

senior state         and       EPA     water            quality and drinking                           water            officials      and managers                  As    the Task

Group        report outlines                with        U.S         population                growth              nitrogen          and phosphorus pollution from

urban stormwater runoff municipal                                         wastewater discharges                                  air   deposition            and     agricultural

livestock       activities        and row crop runoff                                is    expected           to     grow         as well Nitrogen and phosphorus

pollution has            the potential                to   become one of the                          costliest            and the most challenging                        environmental

problems we face                       few examples of                         this         trend include                 the following



                 50 percent            of U.S              streams          have medium                       to    high         levels   of nitrogen               and phosphorus

                 78 percent            of assessed                  coastal          waters           exhibit eutrophication

                Nitrate         drinking               water        violations               have doubled                   in    eight years




 An    Urgent    Call     to   Action        Report         of the State-EPA                  Nutrients           Innovations          Task   Group August 2009




                                                                          Internet        Address    IJhL          http//www.epa.gov

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                            2010           USGS           report on nutrients               in    ground and surface                      water reported             that       nitrates

               exceeded                 background             concentrations                in   64%         of shallow monitoring wells                            in   agriculture
               and urban areas and exceeded                                     EPAs Maximum                         Contaminant                 Levels      for    nitrates         in    7%      or

               2388 of sampled domestic                                 wells.2


                      Algal            blooms are steadily                   on the rise related toxins have potentially serious health                                                       and

               ecological                  effects



               States                EPA      and stakeholders                 working            in   partnership               must make greater progress                            in


accelerating                the reduction                  of nitrogen and phosphorus loadings                                      to   our nations              waters         While
EPA       has             number of                regulatory        tools at        its    disposal          our resources                can best be employed                        by

catalyzing            and supporting                       action      by    states    that       want       to    protect their           waters         from nitrogen and

phosphorus pollution                                Where      states       are willing to              step forward                we can most             effectively

encourage             progress                through on-the-ground                        technical          assistance            and dialogue            with     state       officials

and stakeholders                           coupled with cooperative                         efforts         with agencies                like    USDA       with     expertise              and
financial           resources                 to            improvement               in   best practices by agriculture                            and other important
                                                   spur
sectors



            States need                    room       to    innovate         and respond               to    local    water         quality needs             so      one-size-fits-

all    solution            to    nitrogen and phosphorus pollution                                     is   neither desirable nor necessary                               Nonetheless
our prior           work             with      states      points      toward          framework                  of key elements                 that    state    programs should
incorporate                to    maximize                 progress Thus               the Office            of Water          is   providing             the attached

Recommended                            Elements of               State Nutrients                 Framework                  as      tool to        guide     ongoing
collaboration                    between            EPA       Regions and             states      in their         joint effort           to    make      progress        on reducing

nitrogen and phosphorus pollution                                              am      asking          that each Region                   use this framework                    as    the

basis for discussions                              with    interested and willing states                             The     goal        of these discussions                  should        be

to    tailor     the framework                       to    particular        state     circumstances                  taking        into       account existing                tools and

innovative                approaches available resources                                    and the need              to    engage         all    sectors     and     parties          in

order to         achieve               effective           and sustained             progress


               While             the       Framework            recognizes            the need to             provide         flexibility           in   key areas          EPA
believes            that        certain        minimum           building        blocks           are necessary               for    effective           programs         to    manage
nitrogen            and phosphorus pollution                                Of most importance                       is    prioritizing           watersheds         on          state-wide

basis      setting              load-reduction                goals     for    these watersheds based                            on available water                 quality

information and then reducing                                       loadings         through                combination             of strengthened                permits           for


point-sources                    and reduction                measures         for     nonpoint             sources         and other point               sources         of stormwater

not     designated                   for   regulation           Our     experience               in    almost 40 years of Clean Water                               Act

implementation demonstrates                                     that    motivated             states using                tools available            under federal and                     state

law and relying on good                                   science      and    local        expertise          can mobilize                local     governments                and

stakeholders                    to    achieve         significant       results



               It    has         long been            EPAs       position        that       numeric           nutrient           criteria       targeted      at   different


categories            of water bodies                       and informed by                 scientific            understanding                of the relationship               between

nutrient         loadings               and water             quality impairment are ultimately necessary                                           for    effective           state




     Nutrients       in    the       Nation         Streams    and     Groundwater             National        Findings          and Implications           US     Geological          Survey
2010
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programs            Our     support       for    numeric         standards               has    been expressed                  on several            occasions              including
     June    1998 National               Strategy        for    Development                    of Regional Nutrient                      Criteria                November 2001
national       action       plan for the development                       and establishment                         of numeric            nutrient                           and
                                                                                                                                                               criteria

May     2007        memo      from the Assistant Administrator                                       for    Water        calling for accelerated                        progress
towards the development of numeric nutrient                                              water quality standards                         As     explained              in that

memo numeric                 standards           will    facilitate       more           effective          program implementation and are more
efficient      than       site-specific          application            of narrative             water quality standards                             We     believe          that

substantial          body    of     scientific      data augmented                        by    state-specific              water        quality information can be

brought       to    bear to develop such criteria                        in         technically              sound and cost-effective                             manner


              EPAs          focus       for    nonpoint         runoff     of nitrogen                    and phosphorus pollution                          is    on promoting

proven land stewardship                        practices that           improve                water quality                EPA       recognizes               that    the best

approaches           will    entail       States        federal agencies                   conservation                 districts        private          landowners and
other stakeholders                 working        collaboratively                   to   develop watershed-scale                           plans          that    target      the most

effective          practices       to   the acres that           need     it    most            In addition              our    efforts         promote           innovative

approaches           to   accelerate           implementation of agricultural practices                                          including            through           targeted

stewardship           incentives              certainty        agreements                for    producers           that     adopt         suite          of practices            and

nutrient      credit       trading       markets          We      encourage                federal          and     state    agencies           to    work with              NGOs         and

private sector            partners        to    leverage        resources            and target those resources                            where          they        will   yield the

greatest      outcomes              We        should     actively        apply           approaches              that      are succeeding                 in     watersheds

across       the country



             USDA          and State Departments                        of Agriculture                    are vital      partners in this effort                        If   we     are to

make        real
                    progress        it   is    imperative        that     EPA            and    USDA             continue        to   work           together          but also

strengthen          and broaden partnerships                       at    both        the national                and    state    level          The       key elements               to


success       in    BMP      implementation continue                           to    be sound watershed and on-farm conservation

planning sound               technical           assistance         appropriate                 and targeted               financial        assistance             and effective

monitoring                Important           opportunities         for        collaboration                 include        EPA monitoring support                             for


USDAs              Mississippi          River     Basin        Initiative           as    well       as broader                 to use EPA section
                                                                                                                           efforts                                             319

funds        and     other funds              as available         in    coordination                     with    USDA          programs             to    engage creatively
in   work     with        communities            and watersheds                 to       achieve           improvements               in   water quality



              Accordingly the attached                          framework                envisions           that      as states      develop numeric nutrient
criteria      and related schedules they                         will    also develop watershed scale plans                                          for    targeting          adoption

of the most          effective          agricultural           practices and other appropriate                                  loading         reduction             measures            in


areas where           they    are       most needed              The      timetable              reflected          in       States        criteria         development
schedule           can be        flexible        one provided             the state             is   making         meaningful             near-term              reductions              in


nutrient       loadings       to    state       waters     while        numeric            criteria         are being           developed


              The    attached           framework          is    offered        as         planning           tool intended                to   initiate          conversation

with    states tribes              other partners and stakeholders                                   on    how      best to proceed to                    achieve        near- and

long-term           reductions           in    nitrogen        and phosphorus pollution                             in   our nations              waters           We        hope    that

the framework               will    encourage            development                 and implementation of effective                                      state    strategies         for


managing            nitrogen        and phosphorus pollution                               EPA        will       support        states     that      follow           the framework

but     at   the same        time        will    retain    all    its    authorities             under the Clean Water                          Act
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            With   your hard work       in   partnership   with the states     USDA   and other partners and

stakeholders       am   confident    we can make meaningful and measurable              near-term   reductions   in


nitrogen   and phosphorus pollution         As part of an ongoing collaborative           process    look   forward

to   receiving   feedback   from each Region interested           states   and tribes and stakeholders


Attachment



Cc        Directors    State Water     Programs

          Directors    Great   Water   Body Programs
          Directors    Authorized Tribal Water          Quality   Standards    Programs
          Interstate   Water   Pollution     Control   Administrators
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Recommended          Elements            of        State    Framework                for   Managing       Nitrogen            and Phosphorus                      Pollution




  Prioritize watersheds                  on         statewide        basis for nitrogen              and phosphorus                      loading reductions

       Use best available information                        to     estimate         Nitrogen                Phosphorus                       loadings       delivered       to

       rivers     streams        lakes reservoirs                  etc    in   all   major watersheds            across       the state         on      Hydrologic
       Unit    Code     HUC               watershed scale or smaller watershed or                                     comparable              basis

       Identify major watersheds that                        individually            or collectively account for                     substantial            portion     of

       loads    e.g     80 percent             delivered           from urban and/or            agriculture           sources       to    waters       in     state   or

       directly      delivered      to    multi-jurisdictional                  waters

       Within each major watershed                          that    has    been identified as accounting                      for   the       substantial portion            of

      the load        identify    targeted/priority sub-watersheds                             on    HUC         12    or similar scale to                  implement
      targeted                   load reduction              activities          Prioritization      of sub-watersheds                    should       reflect     an
       evaluation       of receiving               water problems              public      and private drinking              water supply              impacts
       loadings opportunity                   to   address        high-risk                   problems       or other related factors




  Set watershed          load     reduction            goals        based       upon       best available        information

  Establish       numeric goals           for      loading       reductions          for each targeted/priority sub-watershed                                HUC        12   or

  similar scale that         will    collectively reduce                   the majority         of             loads         from the          HUC           major
  watersheds          Goals should             be based upon best available                      physical chemical                   biological             and

  treatment/control          information             from local            state       and federal monitoring                 guidance           and assistance
  activities    including        implementation of agriculture                             conservation      practices          source water assessment

  evaluations        watershed planning                    activities          water quality assessment                activities             Total    Maximum
  Daily Loads         TMDL          implementation and National                              Pollutant    Discharge            Elimination              System

  NPDES           permitting      reviews




  Ensure       effectiveness        of point          source permits in targeted/priority                              sub-watersheds                    for


       Municipal and           Industrial           Wastewater            Treatment          Facilities   that    contribute             to    significant

       measurable                    loadings

       All Concentrated             Animal           Feeding Operations                  CAFOs        that     discharge            or propose to            discharge
       and/or


       Urban      Stormwater         sources          that       discharge        into          P- impaired           waters        or are otherwise              identified


       as      significant       source




  Agricultural Areas

  In partnership        with     Federal           and State Agricultural partners                    NGOs            private       sector partners

  landowners          and other stakeholders                       develop watershed-scale                plans       that    target the most effective

  practices where         they     are needed              most       Look       for    opportunities     to     include       innovative              approaches
  such as targeted         stewardship              incentives            certainty      agreements       and                   markets           to    accelerate

  adoption      of   agricultural         conservation              practices          Also    incorporate        lessons           learned       from other

  successful       agricultural          initiatives        in    other parts of the country
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     Storm water and                Septic      systems

Identify     how    the State will use            state       county and              local     government            tools to   assure           and        reductions
from developed communities                      not covered by the Municipal                             Separate        Storm Sewer Systems                  MS4
program                        an evaluation            of minimum
              including                                                            criteria     for    septic       systems use of low impact
development           green      infrastructure          approaches                and/or       limits       on phosphorus        in    detergents          and lawn
fertilizers




Accountability             and   verification           measures

     Identify where           and   how       each of the tools identified                       in    sections            and 5will be used within

    targeted/priority            sub-watersheds               to    assure reductions                 will    occur

    Verify that        load reduction            practices are in place


    To     assess/demonstrate                progress     in       implementing and maintaining                          management             activities        and

    achieving         load reductions           goals          establish              baseline        of existing                 loads and current Best

    Management              Practices        BMP         implementation                  in   each targeted/priority sub-watershed                            conduct

    ongoing        sampling and analysis                 to    provide             regular seasonal             measurements           of               loads     leaving

    the watershed             and provide            description               and confirmation                 of the degree     of additional             BMP
    implementation and maintenance                             activities




Annual       public        reporting of implementation                             activities       and biannual reporting                    of load

reductions       and environmental impacts                               associated           with     each management                  activity       in   targeted

watersheds

    Establish          process       to   annually       report for each targeted/priority sub-watershed                                          status

    challenges         and progress            toward meeting                               loading      reduction        goals as well           as   specific

    activities      the state       has    implemented              to       reduce                 loads       such as reducing            identified       practices

    that   result     in   excess                 runoff           and documenting                and verifying implementation and

    maintenance of source-specific                        best      management                practices


     Share      annual      report publically            on the states                website       with      request    for    comments and feedback                     for


    an adaptive        management approach                         to    improve        implementation strengthen                       collaborative           local

    county       state      and federal partnerships                         and identify additional                 opportunities        for   accelerating            cost-

    effective                    load     reductions




Develop      work      plan and schedule for numeric                                  criteria development


Establish        work       plan and phased             schedule             for       and       criteria       development         for     classes of waters

e.g    lakes and reservoirs                  or rivers    and streams                   The      work        plan   and schedule          should       contain

interim milestones            including        but   not limited to                  data collection            data analysis          criteria    proposal and
criteria   adoption        consistent with           the Clean Water                   Act          reasonable          timetable       would include

developing       numeric            and        criteria       for       at   least   one    class      of waters       within    the state        e.g       lakes and

reservoirs       or rivers       and streams            within          3-5 years       reflecting           water     quality and permit review

cycles       and completion             of   criteria    development                  in accordance             with     robust        state-specific        workplan
and phased        schedule
